2:13-cv-01225-DCN   Date Filed 05/06/13   Entry Number 1   Page 1 of 7




                                   2:13-CV-1225-DCN-BM
2:13-cv-01225-DCN   Date Filed 05/06/13   Entry Number 1   Page 2 of 7
2:13-cv-01225-DCN   Date Filed 05/06/13   Entry Number 1   Page 3 of 7
2:13-cv-01225-DCN   Date Filed 05/06/13   Entry Number 1   Page 4 of 7
2:13-cv-01225-DCN   Date Filed 05/06/13   Entry Number 1   Page 5 of 7
2:13-cv-01225-DCN   Date Filed 05/06/13   Entry Number 1   Page 6 of 7
2:13-cv-01225-DCN   Date Filed 05/06/13   Entry Number 1   Page 7 of 7
